                               Case 18-24939         Doc 54      Filed 04/15/19       Page 1 of 1

                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                              at Baltimore
                                      In re:    Case No.: 18−24939 − NVA          Chapter: 7

Crystal L. Scott−Harris
Debtor


                                               DEFICIENCY NOTICE
DOCUMENT:                  52 − Application to Employ BK Global Real Estate Services as Broker and Verified Statement
                           of Proposed Party Filed by George W. Liebmann. (Attachments: # 1 Proposed Order # 2 Exhibit
                           A − Service Agreement # 3 Exhibit B − Affidavit of Disinterest) (Liebmann, George)


                           53 − Application to Employ Gladwin D'Costa of Maryland REO Realty as Realtor and Verified
                           Statement of Proposed Party Filed by George W. Liebmann. (Attachments: # 1 Proposed Order
                           # 2 Exhibit A − Affidavit of Disinterest # 3 Exhibit B − Listing Agreement) (Liebmann, George)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 4/29/19.

                           Certificate of Service states the incorrect pleading being served.

CURE:                      Please file an amended Certificate of Service to the correct the type of pleading being served.

CONSEQUENCE: Failure to cure the problem by the date above may result in the pleading being stricken or other
             action the Court deems appropriate without further notice. For a proposed order, the failure to
             cure the problem may result in the relief sought being denied for want of prosecution.


Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 4/15/19
                                                                  Mark A. Neal, Clerk of Court
                                                                  by Deputy Clerk, Natalie Guerra
                                                                  301−344−3328
cc:    Debtor
       Attorney for Debtor − Adam M. Freiman

defntc (rev. 12/12/2016)
